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                                                                  )                   United States District Court
                                                            $:-!-,iv#rS G. BRUTq{orthern        District of Illinois
                         Plaintiff                       ctE.*5 .,.ri. FtsTSlcT cottRT
         JAMES LEMONT DAVIS                           JR          )
                         v.                                       )
                                                                  )
                                                                                        1:22-cv-045gg
                                                                  )
                         Defendant                                )                    lydg" Steven C. Seeger
            Chime Financial lnc                                                        Magistrate Judge Jedey Cole
                                                        COMPLAINT                      RANDOM

On August 28 2020 Chime Flinancial lnc. put a hold on my account due to me calling
consecutively and complaining about funds that was missing against my recognition.
Chime Financia! Inc. then closed my account on August 31 2020. I was told the reason
Chime Financial lnc. closed my account was because doing a routine security check they
found that my account violated policy. I was told to submit documents to show that my
loan came from a legit source and to also send documents to prove my identity like my
lD social security card and business license. I submitted every document that Chime
Financial lnc ask for and they then told me Chime Financial lnc was still not able to
refund my money that was left in my account when it was closed. I was told that Chime
Financial lnc was going to send the money that was left in my account back to the source
it originally was disbursed from which is the Small Business Administration. Working to
get my funds back caused me stress and depression and losses I can't get back due to
time. My business was in the start up stage and due to losen my funds; my business
crashed and have not been able to operate since. I have been applying for loans and
getting approved for loans, some totalling up to $500,000.00. The reason my business
was not accepted is because Chime Financial lnc falsely accusing my account with the
Smal! Business Administration of Fraud. As of today I AM still being told by Chime
Financial lnc that my funds was sent back to the Small Business Administration. As of
0813012}22The Small Business Administration have not yet received no funds from
Chime Financial lnc. on behalf of my account. This unfortunate situation has stopped my
business from getting any support and funding from the small business administration.




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